     Case 1:25-cv-00190-JMC           Document 50-7           Filed 06/10/25    Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                          )
   MAKE THE ROAD NEW YORK, et al.,                        )
                                                          )
                               Plaintiffs,                )
                v.                                        )     No. 1:25-cv-00190-
                                                          )     JMC
   KRISTI NOEM, Secretary of the U.S.                     )
   Department of Homeland Security, in her                )
   official capacity, et al.,                             )
                                                          )
                               Defendants.                )
                                                          )

                                       Declaration of Mary

I certify under penalty of perjury that the following statement is true and correct pursuant to 28
U.S.C. § 1746.
       1. I am a citizen of Mexico.

       2. I am the mother of John, who is 18 years old. He was born in Mexico.

       3. My son, John, and I were issued expedited removal orders on January 28, 2025 at Del

           Rio, Texas. A copy of those orders are attached to this Declaration as Exhibit A.

       4. The order states that “on or about, Thursday, February 5, 2015, you illegally entered

           the United States at or near EL PASO, TX and were not inspected by an Immigration

           Officer.”

       5. I have never entered the United States illegally. John has never entered the United

           States illegally.

       6. We have both resided in the United States for over ten years.

       7. In addition to John, I have four other children. Two of them who are U.S. citizens,

           aged 8 and 6, and two are non-U.S. citizens who are 15 and 11. My U.S. citizen

           children lived with me in the United States.
Case 1:25-cv-00190-JMC             Document 50-7     Filed 06/10/25     Page 2 of 10




 8. I was issued a ten-year visa to visit to the United States on December 9, 2014. John

    was issued a similar visa on the same date. My visa expired on December 8, 2024

    and John’s expired on October 9, 2021.

 9. I first entered the U.S. on my visa on January 5, 2015 for a day trip. I then re-entered

    on my visa on February 2, 2015 until February 8, 2015. I returned to the U.S. on my

    visa later the same day, February 8, 2015. I then did not leave the U.S. again after

    that prior to my removal.

 10. Every time I entered the United States was at a port of entry at the United States-

    Mexico border pursuant to that visa. Before I was deported in January 2025, I had

    been in the United States continuously since February 8, 2015.

 11. John had a 10-year visa and never entered the country illegally.

 12. On January 27, 2025 I was driving in Kerr County, Texas when I was stopped by

    police while driving with my son, John. They asked everyone in the car for ID. I did

    not have a driver’s license, so gave them my and John’s Mexican passports. The

    officers told me we had overstayed our permission to stay.

 13. The police held me and my son where we were arrested for an hour to wait for

    immigration officers to arrive.

 14. They did not arrive, and so John and I were taken to Kerr County Jail. I do not

    believe we were booked into the jail, but we were made to wear prisoner’s clothing

    and wait for three to four hours.

 15. I asked to contact a lawyer, but I was not allowed to do so. I was not able to make

    any phone calls at the jail.
      Case 1:25-cv-00190-JMC           Document 50-7        Filed 06/10/25    Page 3 of 10




       16. Border Patrol took me and John from the Kerr County Jail to another facility in

           Rocksprings, Texas where we were placed in a cell. We were not allowed to make

           calls or contact an attorney despite our requests.

       17. Border Patrol officers then took me and John to a facility in Eagle Pass, Texas. I

           believe it was around 2 A.M. at that time. I was not allowed to make a phone call

           there.

       18. A few hours later, at around 5 A.M., we were transferred to a detention center in Del

           Rio, Texas. I requested again to talk a lawyer, but they ignored me.

       19. After about 4 hours, at around 9 A.M., officers gave me and John documents and said

           we were going to be deported.

       20. My son and I were never asked or given the option to sign our deportation orders.

       21. We were then taken to a border bridge in a car and told to walk across.

       22. We have been living in Mexico ever since.



I declare under penalty of perjury that the foregoing is true and correct.




                             Ciudad Juárez, Chihuahua, Mexico
Executed on June 9, 2025, in ____________
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 4 of 10




                 EXHIBIT A
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 5 of 10
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 6 of 10
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 7 of 10
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 8 of 10
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 9 of 10
Case 1:25-cv-00190-JMC   Document 50-7   Filed 06/10/25   Page 10 of 10
